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 4

 5   Attorney for Ariana Diaz
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 8                                     UNITED STATES DISTRICT COURT
 9                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           Case No. 16-CR-134 KJM
12                        Plaintiff,                     STIPULATION AND [PROPOSED]
                                                         ORDER TO MODIFY CONDITIONS OF
13             v.                                        PRETRIAL RELEASE
14   Ariana Diaz,
15                        Defendant.
16

17             Defendant Ariana Diaz, by and through her counsel, Dustin D. Johnson, and Assistant

18   United States Attorney Amanda Beck hereby agree to a temporary extension of Ms. Diaz’s

19   curfew on July 25, 2018 to 12:00 am (Tuseday evening/Wednesday morning). And temporarily

20   permit Ms. Diaz to travel to and from the Northern District during that time period.

21             Ms. Diaz’ grandmother will be coming to California to visit from the east coast. Ms. Diaz

22   would like to go with her mother to SFO, which is in the Northern District of California, to pick

23   her mother up from the airport. Her grandmother’s flight is scheduled to arrive at SFO at 9:00 pm.

24   Ms. Diaz’ grandmother’s itinerary has been shared with the pretrial services officer and the

25   AUSA.

26             All of the other conditions of her supervised release shall remain in effect.

27             Supervising Pretrial Services Officer Darryl Walker has no opposition.

28   ///
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 1
     Dated: July 23, 2018               Respectfully submitted,
 2
                                               /s/ Dustin D. Johnson
 3                                             Dustin D. Johnson
                                               Counsel for Ariana Diaz
 4
     Dated: July 23, 2018                      McGregor W. Scot
 5                                             United States Attorney
 6                                             /s/ Amanda Beck (approved via email)
                                               Amanda Beck
 7                                             Assistant U.S. Attorney
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 9
     SO ORDERED:
10   Dated: July 23, 2018                      Allison Claire
                                               United States Magistrate Judge
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